                                                                                  Case 8:21-bk-11710-ES             Doc 195 Filed 08/22/22 Entered 08/22/22 13:08:34                     Desc
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                                                                                   1 Jeffrey I. Golden, State Bar No. 133040
                                                                                     jgolden@go2.law
                                                                                   2 P.O. Box 2470
                                                                                     Costa Mesa, California 92628-2470
                                                                                   3 Telephone: (714) 966-1000
                                                                                     Facsimile: (714) 966-1002
                                                                                   4
                                                                                     Chapter 7 Trustee
                                                                                   5

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                                                                                   8                                  UNITED STATES BANKRUPTCY COURT

                                                                                   9                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

                                                                                  10 In re                                                Case No. 8:21-bk-11710-ES

                                                                                  11 JAMIE LYNN GALLIAN,                                  Chapter 7
Weiland Golden Goodrich LLP




                                                                                  12                                      Debtor.         AMENDED NOTICE OF HEARING ON
                                                                                                                                          APPLICATION OF THE CHAPTER 7 TRUSTEE
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                                                                                  13                                                      TO EMPLOY REAL ESTATE BROKER
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                                                                          COLDWELL BANKER REALTY AND AGENTS
                                                                                  14                                                      WILLIAM FRIEDMAN AND GREG BINGHAM
                                                                                                                                          PURSUANT TO 11 U.S.C. §§ 327 AND 328
                                                                                  15
                                                                                                                                          [16222 Monterey Lane, Space #376,
                                                                                  16                                                      Huntington Beach, CA 92649]

                                                                                  17                                                      Rescheduled Hearing Information:
                                                                                                                                          DATE:       September 13, 2022
                                                                                  18                                                      TIME:       11:00 a.m.
                                                                                                                                          CTRM:       5C, Via ZoomGov
                                                                                  19
                                                                                                                                          Original Hearing Information:
                                                                                  20                                                      DATE:         August 18, 2022
                                                                                                                                          TIME:         10:30 a.m.
                                                                                  21                                                      CTRM:         5A, Via ZoomGov

                                                                                  22 TO THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL PARTIES IN
                                                                                     INTEREST:
                                                                                  23
                                                                                            PLEASE TAKE NOTICE that on September 13, 2022 at 11:00 a.m. in courtroom
                                                                                  24 5C of the United States Bankruptcy Court located at 411 West Fourth Street, Santa Ana,
                                                                                     California, a hearing will be held on the Application of the Chapter 7 Trustee to Employ
                                                                                  25 Real Estate Broker Coldwell Banker Realty and Agents William Friedman and Greg
                                                                                     Bingham Pursuant to 11 U.S.C. §§ 327 and 328 [Dkt. 162] ("Application")1 filed by Jeffrey
                                                                                  26

                                                                                  27       1
                                                                                               All capitalized terms not expressly defined herein shall have the meanings provided in the Application.

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                                                                                       1374885.1                                               1                   AMENDED NOTICE OF HEARING
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                                                                                   1 I. Golden, the Chapter 7 trustee ("Trustee") for the bankruptcy estate ("Estate") of Jamie
                                                                                     Lynn Gallian ("Debtor") in the above-captioned case.
                                                                                   2
                                                                                            1.      On July 9, 2021 ("Petition Date"), the Debtor filed a voluntary petition under
                                                                                   3 Chapter 7 of the Bankruptcy Code, including her bankruptcy schedules ("Schedules").
                                                                                     Jeffrey I. Golden was appointed the Chapter 7 trustee. Since filing her original Schedules,
                                                                                   4 the Debtor has filed at least nine sets of amended schedules.

                                                                                   5        2.      On the Petition Date, the registered title owner of the manufactured home
                                                                                     located at 16222 Monterey Lane, Space #376, Huntington Beach, California 92649
                                                                                   6 ("Property"), which is Debtor’s residence, was J-Sandcastle Co, LLC. According to the
                                                                                     Debtor’s Schedules, she was the 100% owner of J-Sandcastle Co, LLC.
                                                                                   7
                                                                                            3.      The Debtor claimed a homestead exemption in the Property in the amount of
                                                                                   8 $600,000. On May 12, 2022, Houser Bros. Co., dba Rancho Del Rey Mobile Home
                                                                                     Estates, filed its Motion Objecting to Debtor’s Claimed Homestead Exemption (Dkt. 95,
                                                                                   9 "Motion"). The hearing on the Motion was held on June 2, 2022 and continued to July 21,
                                                                                     2022. At the continued hearing, the Court granted the Motion and disallowed any claim of
                                                                                  10 exemption by the Debtor in the Property.

                                                                                  11          4.     The Trustee intends to administer the equity in the Property upon further
                                                                                       court order to pay claims of creditors and expenses of administration.
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                                                                                  12
                                                                                            5.     The Trustee has solicited the assistance of Coldwell Banker Realty, a
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                                                                                  13 licensed California real estate broker ("Broker"), and William Friedman and Greg Bingham
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                                                                                     (together, "Agents"), agents of the Broker, in determining the value of the Property. Mr.
                                                                                  14 Bingham has advised the Trustee that the fair market value of the Property is at or near
                                                                                     $300,000.
                                                                                  15
                                                                                            6.     To facilitate the sale of the Property, the Trustee seeks to employ an
                                                                                  16 experienced and reputable real estate broker and proposes to employ the Broker and the
                                                                                     Agents pursuant to 11 U.S.C. §§ 327(a) and 328. The Broker has agreed to advertise the
                                                                                  17 Property, to market and show the Property, to represent the Estate in connection with the
                                                                                     sale of the Property, and to advise the Trustee with respect to obtaining the best offer for
                                                                                  18 the sale of the Property.

                                                                                  19         7.      The terms of employment agreed to by the Trustee, subject to approval of
                                                                                       the Court, as set forth in the residential listing agreement, manufactured home listing
                                                                                  20   addendum, and addendum to exclusive authorization and right to sale (together, “Listing
                                                                                       Agreement”) attached to the Application, are as follows:
                                                                                  21                 a.      The Broker will have an exclusive listing on the Property, and the
                                                                                             listing price will be $300,000. The Listing Agreement, including the listing price,
                                                                                  22         may be modified by the Trustee in his discretion. The listing and sale of the
                                                                                             Property is subject to Bankruptcy Court approval, and any sale of the Property will
                                                                                  23         be “as is,” without any representations, guarantees or warranties of any kind,
                                                                                             whether expressed or implied, by the Trustee. Upon the presentation of an
                                                                                  24         acceptable purchase offer for the Property, the Trustee will file a motion seeking
                                                                                             court authority to sell the Property and pay the total broker’s commission of six
                                                                                  25         percent (6%) from the sale proceeds through escrow. A commission shall be paid
                                                                                             only if the Property is sold by the Trustee. The Trustee’s motion will contain an
                                                                                  26         overbid procedure.
                                                                                                     b.      The Agents are informed and understand that no sale may be
                                                                                  27         consummated until after notice and a hearing. Further, the Agents are aware of the
                                                                                             provisions of 11 U.S.C. § 328(a) and understand and accept that, notwithstanding
                                                                                  28         the terms and conditions of employment and compensation provided in the Listing
                                                                                       1374885.1                                    2               AMENDED NOTICE OF HEARING
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                                                                                   1           Agreement, the Court may allow compensation different from the compensation
                                                                                               provided under such terms and conditions after the conclusion of such
                                                                                   2           employment, if such terms and conditions prove to have been improvident in light
                                                                                               of developments not capable of being anticipated at the time of the fixing of such
                                                                                   3           terms and conditions.

                                                                                   4         8.     The Agents are well qualified to represent the Trustee and the Estate in
                                                                                       connection with the marketing and sale of the Property.
                                                                                   5
                                                                                            PLEASE TAKE FURTHER NOTICE that the hearing will be conducted
                                                                                   6 remotely using ZoomGov. Video and audio connection information for the hearing
                                                                                     will be provided on Judge Clarkson's publicly posted hearing calendar, which may
                                                                                   7 be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.

                                                                                   8        Your Rights May be Affected. You should read these papers carefully and
                                                                                     discuss them with your attorney, if you have one. If you do not have an attorney, you may
                                                                                   9 wish to consult one.

                                                                                  10          Deadline for Opposition Papers. The Motion is being heard on regular notice
                                                                                     pursuant to LBR 9013-1. If you wish to oppose the Motion, you must file a written
                                                                                  11 response with the Court and serve a copy of it upon the Movant or Movant’s attorney at
                                                                                     the address set forth above no less than 14 days prior to the above hearing date. If you
Weiland Golden Goodrich LLP




                                                                                  12 fail to file a written response to the Motion within such time period, the Court may treat
                                                                                     such failure as a waiver of your right to oppose the Motion and may grant the requested
                         Te l ( 7 14) 96 6- 10 0 0 F ax ( 7 14) - 9 66 - 1 0 02
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                                                                                  13 relief.
                                 Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                                  14        Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure. The
                                                                                     undersigned hereby verifies that the above hearing date and time were available for this
                                                                                  15 type of Motion according to the judge’s self-calendaring procedures.

                                                                                  16        PLEASE TAKE FURTHER NOTICE that any party requesting a copy of the
                                                                                     Application or any supporting documents filed with the Court with respect to the Motion
                                                                                  17 may contact the Trustee, Jeffrey I. Golden, by email at jgolden@go2.law, by mail at
                                                                                     P.O. Box 2470, Costa Mesa, California 92628-2470, or by telephone at (714) 966-1000.
                                                                                  18

                                                                                  19

                                                                                  20 Dated: August 22, 2022                      /s/ Jeffrey I. Golden_____________________
                                                                                                                                 JEFFREY I. GOLDEN
                                                                                  21                                             Chapter 7 Trustee

                                                                                  22

                                                                                  23

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                                                                                       1374885.1                                     3               AMENDED NOTICE OF HEARING
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Amended Notice Of Hearing On Application Of The
Chapter 7 Trustee To Employ Real Estate Broker Coldwell Banker Realty And Agents William Friedman And Greg
Bingham Pursuant To 11 U.S.C. §§ 327 And 328 will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 22, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Aaron E DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
D Edward Hays ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.co
m
Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
Valerie Smith claims@recoverycorp.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 22, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Jamie Lynn Gallian                                                                William Friedman
16222 Monterey Ln Unit 376                                                        1608 Montana Avenue
Huntington Beach, CA 92649                                                        Santa Monica, California 90403
Debtor

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 22, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8/22/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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SERVED BY UNITED STATES MAIL:
Internal Revenue Service                                                          Patricia Ryan
PO Box 7346                                                                       20949 Lassen St. Apt 208
Philadelphia, 19101-7346                                                          Chattsworth, CA 91311-4239

Gordon Rees Scully & Mansukhani                                                   Robert P. Warmington Co.
5 Park Plaza Ste. 1100                                                            c/o BS Investors
Irvine, CA 92614-8502                                                             18201 Von Karmen Ste. 450
                                                                                  Irvine, CA 92612-1195
Houser Bros. Co. dba Rancho Del Rey Mobile H
c/o Marshack Hays LLP                                                             Randall Nickel
870 Roosevelt                                                                     11619 Inwood Drive,
Irvine, CA 92620-3663                                                             Riverside, CA 92503-5000

Houser Bros. Co.                                                                  Randall Nickell
DBA Rancho De1 Rey Estates                                                        4476 Alderport Dr.
16222 Monterey Ln                                                                 Huntington Beach. CA 92649-2288
Huntington Beachr CA 92649-6214
                                                                                  Randell Nickel
Huntington Beach Gables H0A                                                       c/o Mark Mellor, Esq.
c/o Feldsott & Lee                                                                6800 Indiana Ave. Ste. 220
23161 Mill Creek Dr. Ste. 300 Laguna                                              Riverside, CA 92506-4267
Hllls, CA 92653-7907
                                                                                  United Airlines
Huntington Beach Gables Homeowners                                                233 S. Hacker Dr.
Association                                                                       Chicago, IL 60606-6462
Epstein, Grinnel & Howell, APC
10200 Willow Creek Rd Ste 100                                                     United Airlines
San Diego CA 92131-1655                                                           P.O. Box 0675
                                                                                  Carol Stream, 60132-0675
James H Cosello
Casello & Lincoln,                                                                (p)US BANK
525 N Cabrillo Park Dr. Ste 1O4                                                   PO BOX 5229
Santa Ana, CA 92701-5017                                                          CINCINNATI OH 45201-5229

Feldsott & Lee                                                                    Robert P. Warmington Co.
23161 Mill Creek Drive Ste 30O                                                    c/o BS Investors
Laguna Hills, CA 92653-7907                                                       18201 Von Karmen Ste. 450
                                                                                  Irvine, CA 92612-1195
Danning, Gill, Israel & Krasnoff LLP
1901 Ave of The Stars, Ste                                                        S4 A California Limited Partnership
Los Angeles CA 90067-6006                                                         1001 Cove St Ste 230
                                                                                  Newport Beach CA 92660
Lisa T. Ryan
20949 Lassen St. Apt 208                                                          LPL Asset Management Co.
Chattsworth, CA 91311-4239                                                        18201 Von Karmen Ste. 450
                                                                                  Irvine, CA 92612-1195
Orange County Alternate Defender
600 Santa Ana Blvd, Ste 600
Santa Ana CA 92701-4552

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
